 

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

 

 

 

United States of America ;
V.
FITZPATRICK ) — CaseNo, H2ENNET
ONOR BRIAN .
° UNDER SEAL
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 2022 to present in the city/county of Prince William
in the Eastern District of Virginia , the defendant(s) violated:
a EE pc ee Nee
Code Section Offense Description
Title 18, United States Code, Section 1029(b)(2) Conspiracy to commit access device fraud

This criminal complaint is based on these facts:
See attached affidavit

 
   

Continued on the attached sheet.
Reviewed by AUSA/SAUSA
AUSA Carina A. Cuellar

Printed name and title

iplainant’s signature

John Longmire, Special Agent, FBI
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed, R. Crim. P. 4.1 by

telephone :
p (specify reliable electronic means).

Digitally signed by John F.
John F. Anderson anderson
Date: 3/15/2023 Date: 2023.03.15 19:54:25 -04'00'

Judge's signature

City and state: Alexandria, Virginia Hon. John F. Anderson, United States Magistrate Judge

Printed name and title
